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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

State of Texas, et al
               Plaintiffs,

v.                                                       Case No. 6:24-cv-00306

United States Department of Homeland
Security, et al,
               Defendants.




                   PLAINTIFFS’ NOTICE OF IMPENDING RESPONSE TO
            DEFENDANTS’ MOTION FOR EXPEDITED JURISDICTIONAL DISCOVERY,
                     STAY OF BRIEFING, AND SCHEDULE PROPOSAL


       Plaintiffs respectfully inform the Court that they will be responding today to Defendants’

Motion for Expedited Jurisdictional Discovery, Stay of Briefing, and Schedule Proposal that was

filed the afternoon of Friday August 23, 2024 (ECF No. 9).
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Dated: August 26, 2024.                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
       I certify that on August 26, 2024, a true and accurate copy of the foregoing document was
ﬁled and served electronically, via CM/ECF.

                                                   /s/Ryan D. Walters
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